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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
IN RE:

 

EX PARTE PETITION OF ISMAEL REYES
FOR AN ORDER TO TAKE DISCOVERY
UNDER 28 U.S.C. § 1782

 

 

ANALISA TORRES, District Judge:

The Clerk of Court is directed to close the case.

SO ORDERED.

Dated: May 15, 2020
New York, New York

USDC SDNY
DOCUMENT
ELECTRONICALLY FILED

DOC #:
DATE FILED: __ 5/18/2020

 

19 Civ. 7219

ORDER

On-

 

ANALISA TORRES
United States District Judge
